 Case 2:05-cr-00105-LRS
    Case:               ECF No. 257ID:filed
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                     UNITED STATES COURT OF APPEALS                          MAY 28 2013

                                                                        MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                        U .S. C O U R T OF APPE ALS




In re: RAUL S. ZAVALA.                             No. 13-70702

                                                   D.C. No. 2:05-cr-00105-LRS-1
RAUL S. ZAVALA,                                    Eastern District of Washington,
                                                   Spokane
              Petitioner,

  v.                                               ORDER

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF
WASHINGTON, SPOKANE,

              Respondent,

UNITED STATES OF AMERICA,

              Real Party in Interest.



Before: O’SCANNLAIN, W. FLETCHER, and CALLAHAN, Circuit Judges.

       Petitioner has not demonstrated that this case warrants the intervention of

this court by means of the extraordinary remedy of mandamus. See Bauman v.

United States Dist. Court, 557 F.2d 650 (9th Cir. 1977). Accordingly, the petition

is denied.

       The motion to proceed in forma pauperis is denied as moot.

       No further filings will be entertained in this closed case.

       DENIED.

hmb/MOATT
